       Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 1 of 41. PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                          EASTERN DIVISION, YOUNGSTOWN

CHRISTINA BODNAR, TERRY                  *            CASE NO.: __________________
MANLEY, JOSEPH SAMEK and
SAMEK AUTOMOTIVE REPAIR, LLC *                        Judge
Individually and on behalf of all others
similarly situated                       *

       Plaintiffs                             *       JURY TRIAL DEMANDED

v.                                            *

NORFOLK SOUTHERN                              *
CORPORATION, and NORFOLK
SOUTHERN RAILWAY COMPANY                      *

       Defendants                             *



                                CLASS ACTION COMPLAINT
       Plaintiffs Christina Bodnar, Terry Manely, Joseph Samek, and Samek Automotive Repair,

LLC, individually and on behalf a putative class of all others similarly situated (“Class Members”

or “Class”), bring this lawsuit against Defendants Norfolk Southern Corporation (“NSC”) and

Norfolk Southern Railway Company (“NSRC”), and upon information and belief, allege as

follows:

                                        INTRODUCTION

       1.      This is a Class Action Complaint seeking redress for residents and businesses

located in and around the February 3, 2023 Norfolk Southern Freight Train 32N derailment and

subsequent “controlled” release and burn in East Palestine, Ohio, that resulted in death to wildlife,

contamination of, and exposure to, massive amounts of vinyl chloride and other toxic chemicals—
        Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 2 of 41. PageID #: 2




including ethylene glycol monobutyl ether, butyl acrylate, ethylhexyl acrylate, isobutylene,

benzene residue, and other combustible liquids. As a result of this derailment, the Class has

suffered, among other things, loss of use and enjoyment of property, property damage, loss of

property value, emotional distress, and economic damages as alleged more specifically below.

        2.     The chemicals Norfolk Southern discharged into the air, water, and soil of East

Palestine, Ohio and the surrounding communities include the known carcinogen vinyl chloride and

numerous chemicals that cause vomiting and skin, nose, eye, and respiratory tract injuries and

irritation.

        3.     This action is brought by Plaintiffs Christina Bodnar, Terry Manley, and Joseph

Samek on behalf of themselves and a class of all other similarly situated persons who: (i) own

property within the vicinity of the February 3, 2023 train derailment and resulting toxic chemical

explosion; or (ii) reside within the vicinity of the February 3, 2023 train derailment and resulting

toxic chemical explosion and were forced to (a) evacuate their homes, or (b) shelter within their

homes due to the incident.

        4.     This action is also brought by Plaintiff Samek Automotive Repair, LLC, on behalf

of itself and a class of all other similarly situated businesses that were forced to close, and/or were

otherwise adversely affected by the February 3, 2023 train derailment and resulting toxic chemical

explosion.

                                          THE PARTIES

        5.     At all relevant times, Plaintiff Christina Bodnar was an adult citizen of Ohio and

the occupier of the real property located at 645 Moore Lane, East Palestine, Columbiana County,

Ohio 44413, and owner of two adjacent lots of real property, all within one mile of the derailment

and explosion site.


                                                  2
         Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 3 of 41. PageID #: 3




         6.       At all relevant times, Plaintiff Terry Manley was an adult citizen of Ohio and the

owner-occupier of the real property located at 96 Wood Street, East Palestine, Columbiana County,

Ohio 44413, within one mile of the derailment and explosion site

         7.       At all relevant times, Plaintiff Josepha Samek was an adult citizen of Ohio and the

owner-occupier of the real property located at 5058 Wheathill Road, East Palestine, Columbiana

County, Ohio 44413, within one mile of the derailment and explosion site.

         8.       At all relevant times, Plaintiff Samek Automotive Repair, LLC was an Ohio

domestic limited liability company with a principal place of business located at 5058 Wheathill

Road, East Palestine, Columbiana County, Ohio 44413, within one mile of the derailment and

explosion site.

         9.       Defendant NSC is a corporation duly organized and existing under and by virtue of

the laws of the Commonwealth of Virginia with its principal place of business located at 1200

Peachtree Street, NE, Atlanta, Georgia 30308.

         10.      Defendant NSRC is a wholly owned subsidiary of NSC. NSRC is a Class I railroad

corporation duly organized and existing under and by virtue of the laws of the Commonwealth of

Virginia with its principal place of business located at 1200 Peachtree Street, NE, Atlanta, Georgia

30308.

         11.      At all relevant times, NSC and NSRC acted individually, as well as by and through

one another and their respective officers, directors, executives, employees, contractors,

subcontractors, and/or agents.

                                   JURISDICTION AND VENUE

         12.      This Court has subject matter jurisdiction over the claims asserted in this action

under 28 U.S.C. § 1332 because there is complete diversity between Defendants and at least one


                                                   3
        Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 4 of 41. PageID #: 4




member of the class; there are more than one hundred members of each class; and the amount in

controversy exceeds $5,000,000 exclusive of interests and costs.

        13.        On information and belief, Defendants have systematically transacted and

conducted business in the State of Ohio, including transportation of hazardous materials by train,

and these causes of action arise, in part, from the same.

        14.        On information and belief, at all relevant times, Defendants expected or should

have expected that their acts would have consequences within the State of Ohio.

        15.        On information and belief, at all relevant times, Defendants derived and continue

to derive substantial revenue from providing services in the State of Ohio.

        16.        On information and belief, at all relevant times, Defendants committed tortious acts

within the State of Ohio causing injury within the State of Ohio, out of which act(s) these causes

of action arise.

        17.        Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

part of the events giving rise to Plaintiffs’ claims occurred, in part, in the Northern District of Ohio,

Representative Plaintiffs were injured as a result of tortious activity in this District and Defendants

otherwise have sufficient contacts with this District to justify it being fairly brought into this

District.

                                     FACTUAL ALLEGATIONS

The Train Derailment

        18.        On Friday February 3, 2023, at approximately 9:00 p.m., Norfolk Southern Freight

Train 32N, consisting of 141 cars (the “Train”) and operated by NSRC, was carrying abnormally

dangerous and ultrahazardous chemicals including, but not limited to, vinyl chloride, while

traveling from Illinois to Pennsylvania.

                                                    4
       Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 5 of 41. PageID #: 5




       19.     The Train was backloaded with 40% of its weight with the heaviest tanker cars, at

the rear. Lighter cars were loaded between the heavy rear tankers and the front engine.

       20.     The Train was traveling from Madison County, Illinois to Conway, Pennsylvania,

which required a downhill route.

       21.     NSC is a publicly traded company with a market value of $55 billion and reported

record profits of $4.8 billion in 2022. James A. Squires, its then Chairman and Chief Executive

Officer, made Thirteen Million Two Hundred Sixty-One Thousand Two Hundred Seventy-Eight

and 00/100 Dollars ($13,261,278.00) in total compensation in 2021.

       22.     Due to cost cutting measures, NSC’s workforce at the time of the East Palestine

disaster on February 3, 2023 was about one-third smaller than it was in 2013, although NSCR

moved more freight and operated more trains as of the time of the derailment as it did in 2013..

       23.     NSC has also fought against regulations requiring trains hauling abnormally

dangerous materials such as those hauled by this Train, to be designated “high hazard” and meet

more stringent safety requirements.

       24.     NSC’s total accidents or safety-related incidents rose on a per-track-mile basis over

the past decade by 82 percent.

       25.     The “crew” that operated the 141-railcar Train consisted of two NSRC rail workers,

an engineer and a conductor, and one trainee.

       26.     At 8:12 PM, approximately 20 miles from its eventual derailment, the Train passed

Butech Bliss, an industrial equipment manufacturer in Salem, Ohio.

       27.     At that time, railcar number twenty-three in the train glowed brightly on the bottom

at the wheel axle as it passed.

       28.     A minute later and a mile down the track, a camera at the Fresh Mark, a meat



                                                 5
        Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 6 of 41. PageID #: 6




processing plant, captured the same glowing footage, showing a malfunctioning railcar axle.

        29.    On the railroad tracks in front of Fresh Mark, an instrument called a hot box detector

was in place to scan the temperature of passing train axles to ensure they were not overheated. Hot

box detectors are typically placed every 10 to 20 miles along a rail.

        30.    The hot box near Fresh Mark sensed the overheated, malfunctioning railcar axle on

car number twenty-three.

        31.    Prior to that, the Train passed over another hot box detector which also registered

a hot wheel journal on the same tank car number 23.

        32.    The Train passed at least three hot box detectors, with each passing registering a

higher temperature, prior to derailment.

        33.    The wheel bearing reading at the East Palestine, Ohio hot box detector read 253

degrees hotter than the ambient temperature, and well above the 200-degree threshold considered

critical.

        34.    The critical audible alarms sounded, instructing the crew to stop. As the crew began

to brake and slow the Train, car number 23 derailed causing the automatic emergency brakes to

engage and the train made a full stop. As a result, a total of 38 railcars derailed, 11 of which

contained hazardous materials. Five of the derailed cars contained vinyl chloride.

        35.    During and after the derailment, the hazardous chemicals, including, but not limited

to vinyl chloride, ignited.

        36.    The resulting fire continued to burn with increasing intensity the following

Saturday, Sunday, and Monday (February 3-6, 2023).

        37.    On Friday February 3, 2023, the fire was large enough to be detected by the

Pittsburgh, Pennsylvania weather radar for several hours. The fire appeared to reach its peak



                                                 6
        Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 7 of 41. PageID #: 7




intensity around 10:40 p.m. when brighter colors appeared on radar and the smoke plume had

traveled below Beaver Falls, Pennsylvania.

        38.    The radar also detected a value of 31.5 decibels at 10:40 p.m., which is the

equivalent of moderate rain/snow. The smoke plume was blown to the south and east due to a

northwest wind that was blowing over the fire, traveling at least as far as Bridgewater,

Pennsylvania at that time.

        39.    Aerial surveillance showed an entanglement of rail cars with fires still burning and

heavy smoke continuing to billow from the scene as officials tried to determine what was in each

car from just a view of their exterior labels.

        40.    Officials issued a shelter-in-place order for the entire town of East Palestine,

affecting roughly 5,000 people, and an evacuation order was put in effect within a mile of the train

derailment at 1020 East Taggart Street in East Palestine, Ohio as of early Saturday, February 4,

2023.

        41.    Upon information and belief, one railcar carrying vinyl chloride became a focus of

concern when its malfunctioning safety valves prevented the release of the chemical inside from

its container, meaning that pressure was building to unsafe levels inside the steel shell.

        42.    On Sunday, February 5, 2023, as the fires continued to burn, vinyl chloride

temperature increases raised fears of a catastrophic tanker failure, which could cause an explosion

with the potential of deadly shrapnel.

        43.    On Monday, February 6, 2023, a drastic temperature change took place within the

railcar with malfunctioning safety valves, increasing the potential of a catastrophic tanker failure

and explosion which could result in the release of not only toxic chemicals, but also deadly shrapnel

traveling up to one mile.



                                                  7
       Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 8 of 41. PageID #: 8




       44.     In response, at 4:30 p.m. on Monday, February 6, 2023, NSC and/or NSRC

intentionally blew holes in each of the five derailed rail cars containing vinyl chloride to drain the

chemical into a trench where flares would then ignite and burn the vinyl chloride away.

       45.     This process was referred to as a “controlled release.” Following the explosive and

fiery “controlled release,” a large plume of thick black smoke formed a mushroom cloud, which

dispersed toxic hydrogen chloride and phosphene gas into the atmosphere, causing further

contamination by, and exposure to, toxic chemicals as seen in the pictures below:




                                                  8
       Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 9 of 41. PageID #: 9




       46.     Phosgene is a highly toxic gas that can lead to choking, chest constriction, and, in

the most acute exposures, possibly even death. Phosgene is so toxic that it was used as a chemical

weapon in World War I.

       47.     Upon information and belief, the “controlled release” of vinyl chloride released

hundreds of thousands of pounds of phosgene into the air.

       48.     Hydrogen chloride, which has a pungent odor, can irritate the throat, nose, and skin.


                                                 9
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 10 of 41. PageID #: 10




Hydrogen chloride is extremely unstable and bonds with water in the atmosphere to form

hydrochloric acid.

       49.     Upon information and belief, the “controlled release” of vinyl chloride released

hundreds of thousands of pounds of hydrochloric acid into the air.

       50.     The smoke from the “controlled release” was trapped from rising higher into the

atmosphere due to an inversion layer at around 3,000 feet. In other words, the toxic plume from

the mushroom cloud reached a level in the atmosphere where it was unable to continue to rise

vertically, so it began to spread out horizontally in a thick cloud.

       51.     Fumes, sediment, and a rise in particulate pollution from the derailment, fire, toxic

chemical disbursement, and subsequent explosion were reported in an area encompassing at least

30 miles around the derailment site.

       52.     For example, the EPA particulate pollution monitor in Youngstown, Ohio, more

than 23 miles from the derailment site, more than tripled in the amount of small particles in the air

on February 6, 2023, and continued to rise. As of February 9, 2023, the particulate levels in

Youngstown, Ohio were five times higher than they were prior to February 6, 2023.

       53.     Citizens of East Palestine, Ohio and other areas miles away have already reported

environmental issues including poor air quality and a pervasive, terrible smell as well as an

expansive host of health issues including headaches, nausea. Cough, sinus problems, a burning

sensation in the eyes, lung complications, burning throat, and dizziness.

       54.     Upon information and belief, contamination and damage to local streams, rivers,

and other bodies of water including, but not limited to, the Ohio River, occurred from the release

of toxic chemicals and/or the water runoff from the derailment and resulting chemical explosion,

leading to the death of fish, wildlife, and other local farm or household animals.



                                                  10
        Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 11 of 41. PageID #: 11




         55.    Upon information and belief, the derailment, subsequent chemical spill, fire, and

toxic explosion were caused by the negligence, carelessness, recklessness, and/or intentional acts

of the Defendants in the ownership, operation, inspection, maintenance, and repair of the subject

train, rail cars, and track system, as well as the design and performance of the “controlled release.”

                                   The Hazards of Vinyl Chloride

         56.    Vinyl chloride monomer (“vinyl chloride”) is classified by the EPA as a Group A

human carcinogen—the most dangerous to human health.

         57.    Vinyl chloride exposure can affect the cardiovascular, respiratory, and central

nervous systems, and can cause death, difficulty breathing, lung irritation, chest pains, coughing,

dizziness, headaches, eye irritation, and loss of consciousness.

         58.    Vinyl chloride is a toxic chemical that is unstable and prone to explode if not

maintained and handled with proper methods and conditions.

         59.    Specifically, just minutes of exposure to high, but attainable concentrations (over

1,000 ppm) of vinyl chloride may cause central nervous system depression with effects including

dizziness, drowsiness, disorientation, tingling, numbness or burning sensation of the hands and

feet,   impaired    vision,   nausea,   headache,      difficulty   breathing,   cardiac   arrhythmias,

unconsciousness, and even death.

         60.    Exposure to higher concentrations of vinyl chloride can cause death because of

central nervous system and respiratory depression.

         61.    Vinyl chloride exposure also creates an increased risk of a rare form of liver cancer

(hepatic angiosarcoma), as well as primary liver cancer (hepatocellular carcinoma), brain and lung

cancers, lymphoma, and leukemia.

         62.    According to the National Transportation Safety Board (“NTSB”):

         Vinyl chloride [CAS # 75-01-4] is a colorless gas with a mild, sweet odor that is used to make

                                                  11
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 12 of 41. PageID #: 12



       polyvinyl chloride (PVC). It is a gas at room temperature; however, it is shipped as a liquid under
       pressure. It is highly flammable and vapor/air mixtures are explosive. The odor threshold for
       detection is about 3,000 parts per million (ppm) in air. The Occupational Safety and Health
       Administration (OSHA) regulates occupational exposures to vinyl chloride under 29 CFR
       1910.1017. Paragraph © of the standard mandates that no employee may be exposed to vinyl
       chloride at concentrations greater than 1 ppm averaged over any 8-hour period; no employee may
       be exposed at concentrations greater than 5 ppm averaged over any period not exceeding 15
       minutes; and that no employee may be exposed to vinyl chloride by direct contact with liquid vinyl
       chloride. Due to the significant difference between the odor threshold and the acceptable
       occupational exposure levels, workers can easily be overexposed without becoming
       aware of vinyl chloride’s presence. The odor threshold is too high to provide adequate
       warningfor hazardous conditions.

       63.     Just one pound of vinyl chloride released into the atmosphere can contaminate five

acres to a level of 2 ppm.

       64.     In 2012, a train crashed in Paulsboro, New Jersey, spilling 23,000 gallons of vinyl

chloride; a 2014 New Jersey Department of Health study found that half the residents of that

town had health problems caused by the spill two years later.

       65.     Upon information and belief, the train derailment and resulting toxic chemical

explosion released approximately 115,580 gallons—1 million pou—-- of vinyl chloride.

                          THE COMMUNITY AFTER THE DERAILMENT

       66.     As stated above, Defendants released numerous hazardous chemicals into the air,

soil, and water of East Palestine and the surrounding communities.

       67.     While there have been some governmental reports of detected safe levels of

chemical concentrations in the air and water, such reports have largely limited their focus to

volatile organic compounds.

       68.     The train also released chemicals other than volatile organic compounds, including

semi-volatile organic compounds which do not diffuse as easily, and are more persistent in

waterways.

       69.     Further, a document NSC sent to the EPA that was recently made public, did not


                                                  12
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 13 of 41. PageID #: 13




list soil removal among completed cleanup activities in and around East Palestine.

       70.     Removal of chemically contaminated soil is critical as contaminated soil will

continue to leech contaminants into the air and into the ground every time it rains.

       71.     Defendants cannot be trusted to monitor the environmental health of the affected

communities or monitor the physical health of their residents, and this Court must order a rigorous,

independent process to do so, as requested in this Complaint.

                                    CLASS ALLEGATIONS

       72.     Plaintiffs seek relief pursuant to Federal Rules of Civil Procedure 23(a) and

23(b)(1) and/or (b)(3) on behalf of themselves and a class of all other similarly situated of a Class

defined as follows:

               All individuals who resided, owned property, worked or
               operated businesses within a 30-mile radius of 1020 East
               Taggart Street, East Palestine, Ohio 44413 as of February 3,
               2023 (the “Class Zone”).

       73.     Excluded from the Class are: (1) Defendants and any of their affiliates, parents or

subsidiaries; all employees of Defendants; all persons who make a timely election to be excluded

from the Class; government entities; and the judges assigned to this case, their immediate families,

and court staff; and (2) insurers and insurance syndicates whose claims for damages regarding the

February 3, 2023 train derailment and resulting toxic chemical explosion, arise out of a right of

subrogation, whether equitable, contractual or otherwise.

       74.     Also excluded from the Class are any claims of physical manifestation of personal

or bodily injury.

       75.     Plaintiffs reserve the right to amend or modify the Class definition after having had

an opportunity to conduct additional investigation and discovery.

       76.     The proposed Class meets the criteria for certification under 23(a) and 23(b)(1)

                                                 13
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 14 of 41. PageID #: 14




and/or (b)(3).

                                  Numerosity and Ascertainability

       77.       This action satisfies the requirements of Fed. R. Civ. P. 23(a)(1). The members of

the Class are so numerous and geographically dispersed that the joinder of all members is

impractical.

       78.       While the exact number of Class Members is unknown to Plaintiffs at this time, it

is ascertainable; the proposed Class includes thousands of residents and businesses who were

unlawfully exposed to vinyl chloride and other toxic chemicals or who had property contaminated

by unlawful exposure to vinyl chloride and other toxic chemicals and suffered damages. Class

members may be notified of the pendency of this action by recognized, Court-approved notice

dissemination methods, which may include U.S. mail, electronic mail, internet postings, and/or

published notice.

       79.       This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) and 23(b)(3)

because this action involves common questions of law and fact that predominate over any

individual Class Members.

       80.       The common questions include, without limitation, the following:

                  a. Whether Defendants owed a duty of care to Plaintiffs and the Class

                  b. Whether Defendants operated their railway negligently, recklessly or
                     intentionally.

                  c. Whether Defendants caused the accident resulting in the derailment, fire,
                     subsequent leak of toxic chemicals, resulting explosion, contamination and
                     evacuation and/or “shelter in place” orders;
                  d. Whether the Plaintiffs and Class Members have suffered a loss of use and
                     enjoyment of property, property damage, diminution of property value, extra
                     expenses or other economic damages as a result of the Defendants’ acts or
                     omissions as set forth above;



                                                 14
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 15 of 41. PageID #: 15




                e. Whether Plaintiffs’ and Class Members’ businesses have suffered a loss of
                   income and/or diminution in value due to either (i) the leak of vinyl chloride
                   or (ii) the stigma associated with being within the evacuation and/or “shelter
                   in place” zones;

                f. Whether Plaintiffs and Class Members have suffered damages to their
                   businesses due to forced closings and/or the evacuation or “shelter in place”
                   orders;

                g. Whether Defendants are liable to Plaintiff and the Class for punitive damages
                   resulting from the derailment and vinyl chloride spill;

                h. Whether Defendants breached their duty to warn Plaintiffs and the Class of
                   and to protect Plaintiff and the Class from the long-term health risks and
                   consequences of exposure to high levels of vinyl chloride and other toxic
                   chemicals;

                i. Whether medical monitoring and early detection will provide benefits to
                   Plaintiffs and the Class; and

                j. Whether Plaintiffs and the Class are entitled to relief.


                                            Typicality
       81.     This action satisfies the requirements of Fed. R. Civ. P. 23(a)(3) because Plaintiffs’

claims are typical of the claims of the Class Members and arise from the same course of conduct

by Defendants and the same train derailment and spill of hundreds of thousands of gallons of toxic

chemicals.

       82.     Plaintiffs own property, reside in and/or operate a business within the Class Zone

surrounding the train derailment and toxic chemical explosion, and owned property, resided and/or

operated a business in the Class Zone at all relevant times.

       83.     Plaintiffs’ claims are based upon the same legal theories as those of the other Class

Members.

       84.     Plaintiffs and the other Class Members sustained damages as a direct and proximate

result of the same wrongful acts or omissions in which Defendants engaged.


                                                15
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 16 of 41. PageID #: 16




        85.     Plaintiffs’ damages and injuries are akin to those of Class Members, and Plaintiffs

seek relief consistent with the relief of Class Members.

                                               Adequacy

        86.     This action satisfies the requirements of Fed. R. Civ. P. 23(a)(4) because Plaintiffs

will fairly and adequately represent and protect the interests of Class Members.

        87.     Plaintiffs have retained counsel with substantial experience in prosecuting complex

class action and environmental toxic tort litigation, including successful class actions involving

mass displacements caused by the release of dangerous substances that are similar to that at issue

here. Further, Plaintiffs’ counsel has decades of experience litigating a myriad of claims against

railroads and has experience and knowledge relevant to railroad operations and litigation that will

provide great benefit to the putative Class.

        88.     Plaintiffs and their counsel are committed to vigorously prosecuting this action on

behalf of the Class Members and have the financial resources to do so. Neither Plaintiffs nor their

counsel has interests adverse to those of the Class Members.

        89.     Plaintiffs intend to vigorously prosecute this case and will fairly and adequately

protect the interests of Class Members.

    Inconsistent or Varying Adjudications and Risk of Impediments to Other Class Members’
                                           Interests

        90.     This action satisfies the requirements of Fed. R. Civ. P. 23(b)(1); a class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this class action.

        91.     The quintessential purpose of the class action mechanism is to permit litigation

against wrongdoers even when damages to individual plaintiffs may not be sufficient to justify

individual litigation.

                                                 16
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 17 of 41. PageID #: 17




       92.       Here, the damages suffered by Plaintiffs and the Class are relatively small

compared to the burden and expense required to individually litigate their claims against

Defendants, and thus, individual litigation to redress Defendants’ wrongful conduct would be

impracticable.

       93.       Individual litigation by each Class Member would also strain the court system.

Individual litigation creates the potential for inconsistent or contradictory judgments and increases

the delay and expense to all parties and the court system.

       94.       By contrast, the class action device presents far fewer management difficulties and

provides the benefits of a single adjudication, economies of scale, and comprehensive supervision

by a single court.

                                             Superiority

       95.       This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3) because a class

action is superior to other available methods for the fair and efficient group-wide adjudication of

this controversy. The common questions of law and of fact regarding Defendants’ conduct and the

interpretation of the common language in their insurance policies predominate over any questions

affecting only individual Class Members.

       96.       Because the damages suffered by certain individual Class Members may be

relatively small, the expense and burden of individual litigation would make it very difficult for

all individual Class Members to redress the wrongs done to each of them individually, such that

many Class Members would have no rational economic interest in individually controlling the

prosecution of specific actions, and the burden imposed on the judicial system by individual

litigation by even a small fraction of the Class would be enormous, making class adjudication the

superior alternative under Fed. R. Civ. P. 23(b)(3)(A).


                                                 17
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 18 of 41. PageID #: 18




       97.     The conduct of this action as a class action presents far fewer management

difficulties, far better conserves judicial resources and the parties’ resources, and far more

effectively protects the rights of each Class Member than would piecemeal litigation. Compared

to the expense, burdens, inconsistencies, economic infeasibility, and inefficiencies of

individualized litigation, the challenges of managing this action as a class action are substantially

outweighed by the benefits to the legitimate interests of the parties, the Court, and the public of

class treatment in this Court, making class adjudication superior to other alternatives, under Fed.

R. Civ. P. 23(b)(3)(D).

       98.     Plaintiffs are not aware of any obstacles likely to be encountered in the management

of this action that would preclude its maintenance as a class action. Rule 23 provides the Court

with authority and flexibility to maximize the efficiencies and benefits of the class mechanism and

reduce management challenges. The Court may, on motion of Plaintiffs or on its own

determination, certify multistate classes for claims sharing common legal questions; utilize the

provisions of Rule 23(c)(4) to certify any particular claims, issues, or common questions of fact or

law for class-wide adjudication; certify and adjudicate bellwether class claims; and utilize Rule

23(c)(5) to divide any Class into subclasses.

         SUPPLEMENTAL MEDICAL MONITORING CLASS ALLEGATIONS

       99.     As set forth above, Plaintiffs are not asserting claims for the physical manifestation

of a current toxicity injury, and have no adequate remedy at law, rendering declaratory, injunctive,

and other equitable relief appropriate.

       100.    As a direct and proximate result of Defendant’s wrongful conduct as set forth

above, Plaintiffs and the Class Members have been exposed to toxic substances, toxic fumes and

carcinogens and thereby suffer, and will continue to suffer a significantly increased risk of serious



                                                 18
     Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 19 of 41. PageID #: 19




injury and diseases. This increased risk makes periodic diagnostic medical testing and

examinations necessary.

       101.    Medical monitoring will reduce the risk of illness and of more severe illness by

using medical tests to detect who has been affected by exposure to vinyl chloride and other toxic

substances released by the derailment, and to provide medical intervention that will prevent or

reduce the deterioration and long-term health and wellbeing of Plaintiffs and the Class Members

they seek to represent. Medical monitoring and testing procedures, including clinical

examinations, exist which make the early detection of exposure to toxic substances, toxic fumes

and carcinogens, and early detection of disease, feasible and beneficial.

       102.    The increased susceptibility to injuries and irreparable threat to the health of the

Plaintiffs and members of the Class resulting from their exposure to vinyl chloride and other toxic

substances can be appropriately mitigated and addressed only by the creation of a comprehensive

medical monitoring program, supervised by the Court, and funded by the Defendant, that: (a)

notifies individuals who have been exposed to vinyl chloride and other toxic substances of the

potential harm from such exposure and the need for periodic testing and examination; (b) provides

early detection and treatment of disease and injuries caused by exposure to vinyl chloride and other

toxic substances; and (c) gathers and forwards to treating physicians information related to the

diagnosis and treatment of injuries and diseases which may result from exposure to vinyl chloride

and other toxic substances.

       103.    By reason of the Defendants’ conduct, members of the Class have suffered and will

continue to suffer latent, undiagnosed and impending irreparable injury, warranting a preliminary

injunction and an expedited trial on the merits under Fed. R. Civ. P. 65, and a permanent decree

granting the relief requested herein. Plaintiffs and the Class they seek to represent will suffer



                                                19
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 20 of 41. PageID #: 20




irreparable injury unless the Court so acts.

        104.     By reason of Defendants’ conduct, Plaintiffs and the Class should be awarded the

quantifiable costs of such medical monitoring program.

                                             COUNT I
                                          NEGLIGENCE
                         (On Behalf of All Plaintiffs Against All Defendants)

        105.     Plaintiffs repeat, reallege, and incorporate by reference all allegations in the

preceding paragraphs as if fully re-written herein..

        106.     Defendants owed a duty of care to operate their railway, and the Train, in a

reasonable manner which would not cause Plaintiff and Class Members harm.

        107.     Defendants breached that duty of care by its unreasonably dangerous, careless,

reckless and unsafe operation of its railway and of the Train.

        108.     Defendants breach of that duty was the direct and proximate cause of

thefderailment, fire, and catastrophic release of of vinyl chloride and other toxic chemicals.

        109.     Defendants further breached its duty to Plaintiffs and Class members by its

negligent, careless, and reckless response to the derailment of the Train and its willful failure to

take immediate steps to ameliorate the effects of its release of chemicals into the air, soil and water.

        110.     Upon information and belief, Defendants prioritized the immediate resumption of

its rail operations over, and to the detriment of, taking immediate steps to address the

environmental catastrophe it unleashed on East Palestine and the surrounding communities.

        111.     Among other things, Defendants breached its duty of care to Plaintiffs and the Class

by their following failures of operations for which it had a duty of reasonable care under applicable

regulations, industry practices, and/or the common law:

               a) Defendants failed to operate, maintain, inspect and/or repair the railway and
                  railcars in such a way to ensure their safe and proper operation, particularly when

                                                  20
Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 21 of 41. PageID #: 21




        transporting hazardous materials such as vinyl chloride, butyl acetate, benzene
        residue, and other toxic chemicals;

     b) Defendants failed to ensure proper procedures or systems for timely identifying
        any malfunctions of the railway and railcars in order to prevent or mitigate
        derailments while transporting such hazardous materials;

     c) Defendants failed to ensure proper safety procedures in the event of a mechanical
        malfunction of the railway or railcars while transporting such hazardous
        materials.

     d) Defendants failed to ensure a proper mechanism for stopping or slowing
        malfunctioning railcars in a timely manner to avoid a derailment while
        transporting such hazardous materials;

     e) Defendants failed to prevent over-loading the train with too many railcars or
        materials;

     f) Defendants failed to load the railcars in a proper way, avoiding placement of
        heavier cars in the rear, with particular consideration to whether the planned route
        is downhill;

     g) Defendants failed to adequately Adequately staff positions that plan, prepare,
        coordinate, and oversee transportation of hazardous materials by railcar;

     h) Defendants failed to properly hire, train, manage, oversee, and supervise their
        agents, servants, employees, including but not limited to the train engineer and
        dispatcher concerning the operation of the train on February 6, 2023;

     i) Defendants failed to properly train their agents, servants, and employees,
        including but not limited to the train engineer, conductor and dispatcher,
        concerning the operation of the train and issues that arose on February 3, 2023;

     j) Defendants failed to properly determine the adequacy and skill of their agents,
        servants, employees, including but not limited to, the train engineer, conductor
        and dispatcher, concerning the operation of the train on February 3, 2023;

     k) Defendants failed to ensure that their agents, servants, employees, including but
        not limited to, the train engineer and dispatcher, were properly and adequately
        instructed and trained while transporting hazardous substances, including, but
        not limited to, vinyl chloride;

     l) Defendants failed to properly instruct and adequately train their agents, servants,
        employees, including but not limited to the train engineer and dispatcher
        concerning safety and emergency procedures in the event of a possible
        derailment;

                                         21
Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 22 of 41. PageID #: 22




     m) Defendants failed to route railcars carrying hazardous materials in such a way as
        to avoid populated areas in order to minimize the risk of accidental exposure

     n) Defendants failed to adequately warn those in danger of exposure to hazardous
        chemicals;

     o) Defendants failed to institute proper procedures and training for response to the
        mechanical malfunction of a rail car;

     p) Defendants failed to institute proper procedures and training for response to
        derailment of railcars containing hazardous materials;

     q) Defendants failed to institute proper procedures to avoid exposing hazardous
        materials to the environment;

     r) Defendants failed to have an emergency response plan to contain the spread of
        hazardous materials into the surrounding air, water, real property, and persons in
        the event of derailment;

     s) Defendants failed to timely implement such an emergency response plan;

     t) Defendants failed to transport and handle hazardous materials in a manner which
        would not cause Plaintiffs harm, as Plaintiffs were foreseeable victims located
        within the scope of the risk created by Defendants’ conduct;

     u) Defendants failed to properly dispose of or otherwise eliminate the hazardous
        materials from the derailment site, including the use of techniques that further
        exposed Plaintiff and surrounding areas to phosgene and hydrogen chloride
        during a “controlled release” of the hazardous materials;

     v) Defendants failed to evacuate an appropriate geographical area to avoid exposing
        persons nearby to hazardous materials and causing injury;

     w) Defendants failed to timely evacuate an appropriate geographical area to avoid
        exposing persons nearby to hazardous materials and causing injury;

     x) Defendants failed to accurately make known the risk of catastrophic injury and
        illness from exposure to hazardous materials, including vinyl chloride, butyl
        acetate, benzene residue, combustible liquids, phosgene, and hydrogen chloride,
        to persons at risk of exposure, including those outside the evacuation zone;

     y) Defendants failed to accurately make known the risk of exposure faced by those
        persons at risk of exposure, including those outside the evacuation zone; and

     z) Defendants failed to contain the spread of hazardous materials and by-products,

                                        22
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 23 of 41. PageID #: 23



                including vinyl chloride, butyl acetate, benzene residue, combustible liquids, phosgene,
                and hydrogen chloride, into the surrounding air, water, real property, and persons.


        112.   Defendants owed and breached a duty of reasonable care commensurate with the

risk of transporting hazardous materials, including vinyl chloride, butyl acetate, benzene residue,

and combustible liquids by railcar.

        113.   Defendants owed and breached a duty of reasonable care commensurate with the

release and burning of those hazardous materials, including the resultant release of phosgene, and

hydrogen chloride.

        114.   Given the likelihood of contamination of neighboring areas and exposure to their

residents, Defendants had a duty to investigate the extent to which the controlled release and burn

of hazardous materials, including vinyl chloride, butyl acetate, benzene residue, combustible

liquids, phosgene, and hydrogen chloride was likely contaminating property at levels to materially

increase nearby residents’ likelihood and risk of developing cancer and other diseases.

        115.   The damages to Plaintiffs and class members were also caused by or aggravated by

the fact that Defendants failed to take necessary actions to mitigate the danger associated with their

operations.

        116.   As a direct and proximate result of Defendants’ use, emission, discharge, disposal,

distribution and release of hazardous materials throughout a 30-mile radius surrounding the

derailment site, Plaintiffs presently suffer, and will continue to suffer, real property damage, out

of pocket expense, personal property damage, loss of use and enjoyment of property, diminution

in property value, loss of business income, loss of business goodwill, annoyance, upset,

aggravation, inconvenience and emotional distress, an increased risk of associated disease or

illness, and the present need for medical monitoring to ensure early detection of any such disease

or illness.

                                                  23
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 24 of 41. PageID #: 24




        117.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                            COUNT II
                                     NEGLIGENCE PER SE
                        (On behalf of All Plaintiffs Against All Defendants)

        118.    Plaintiffs repeat, reallege, and incorporate by reference all allegations in the

preceding paragraphs of this Complaint as if fully rewritten herein.

        119.    As a railroad operating within the United States, Defendants are governed by the

Federal Railroad Administration (“FRA”).

        120.    Defendants violated at least one safety regulation governing the operation of

railroads, specifically, 49 CFR § 215.115, which prohibits a railroad from placing or continuing in

service a rail car with a defective roller bearing.

        121.    On February 3, 2023, the twenty-third car of the Train had a defective roller

bearing, as defined at 49 CFR § 215.115(a)(1)(ii) due to its overheating, and Defendants continued

the Train in service in violation of 49 CFR § 215.115(a), leading to its derailment and catastrophic

release of toxic chemicals.

        122.    Said breach of Defendants’ regulatory duty, caused the damages sustained by Plaintiffs

and constituted negligence per se.

        123.    As a direct and proximate result of Defendants’ negligence per se, Plaintiffs presently

suffer, and will continue to suffer, real property damage, out of pocket expense, personal property

damage, loss of use and enjoyment of property, diminution in property value, loss of business

income, loss of business goodwill, annoyance, upset, aggravation, inconvenience and emotional

distress, an increased risk of associated disease or illness, and the present need for medical

monitoring to ensure early detection of any such disease or illness.

                                                  24
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 25 of 41. PageID #: 25




                                           COUNT III
                                      STRICT LIABILITY
                        (On Behalf of All Plaintiffs Against All Defendants)

       124.     Plaintiffs repeat, reallege, and incorporate by reference all allegations in the

preceding paragraphs of this Complaint as if fully rewritten herein.

       125.     Defendants are strictly liable for the injuries and damages suffered by Plaintiffs and

the Class pursuant to the provisions of the Restatement (Second) of Torts §§ 519 and 520.

       126.     The transportation of the toxic and flammable substance vinyl chloride is an

abnormally dangerous and/or ultrahazardous activity under the definition set forth in Restatement

(Second) of Torts §§ 519 and 520.

       127.     The transportation of the additional toxic chemicals aboard the Train that were

released by its derailment is also an abnormally dangerous and/or ultrahazardous activity under

the definition set forth in Restatement (Second) of Torts §§ 519 and 520.

       128.     The Defendants engaged in an abnormally dangerous and/or ultrahazardous activity

for which common law strict liability applies for transporting hazardous substances, including but

not limited to vinyl chloride.

       129.     Defendants, in fact, did so through a residential community in a manner the

Defendants knew to be dangerous and without taking proper precautions.

       130.     Had the Defendants not engaged in the abnormally dangerous and/ or

ultrahazardous activity, Plaintiffs would not have had their property contaminated or been exposed

to dangerous levels of vinyl chloride and other toxic substances and endured the other damages set

forth herein.

       131.     As a direct and proximate result of the Defendants’ acts or omissions in the course

of conducting this abnormally dangerous and/or ultrahazardous activity, Plaintiffs presently suffer,



                                                 25
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 26 of 41. PageID #: 26




and will continue to suffer, real property damage, out of pocket expense, personal property

damage, loss of use and enjoyment of property, diminution in property value, loss of business

income, loss of business goodwill, annoyance, upset, aggravation, inconvenience and emotional

distress, an increased risk of associated disease or illness, and the present need for medical

monitoring to ensure early detection of any such disease or illness.

       132.    Accordingly, the Defendants are strictly liable, jointly and severally, without regard

to fault, for all of the damages to Plaintiffs and the Class, which were a direct and proximate result

of the train derailment and release of hazardous substances which harmed Plaintiffs and the Class

as described above.

       133.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                          COUNT IV
                                   MEDICAL MONITORING
  (On Behalf of Plaintiffs Christina Bodnar, Terry Manley, Joseph Samek and individual Class
                                Members Against All Defendants)

       134.    Plaintiffs repeat, reallege, and incorporate by reference all allegations in the

preceding allegations of the Complaint as if fully rewritten herein.

       135.    Plaintiffs Christina Bodnar, Terry Manley, Joseph Samek, and the individual Class

Members have been significantly exposed to vinyl chloride and other toxic substances at levels

that are far higher than normal background levels. These toxic substances, including vinyl chloride

and its byproducts like hydrochloric acid and phosgene, are dangerous toxins proven to cause

cancer and other diseases in humans.

       136.    The hazardous materials carried by the train, including vinyl chloride, are highly

toxic substances.

                                                 26
     Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 27 of 41. PageID #: 27




       137.    Plaintiff and Class Members were significantly exposed to these toxic substances,

including vinyl chloride and its byproducts like hydrochloric acid and phosgene, due to

Defendants’ tortious actions, including Defendant’s negligent, ultrahazardous, and willful and

wanton conduct as alleged herein.

       138.    As a proximate result of their exposure to these toxic substances, including vinyl

chloride and its byproducts like hydrochloric acid and phosgene, Plaintiffs and Class Members

have a significantly increased risk of developing diseases and cancer, including liver cancer, brain

cancer, angiosarcoma of the liver, Raynaud's syndrome and acro-osteolysis. This increased risk

makes periodic diagnostic medical examinations reasonably necessary.

       139.    This increased risk will warrant a reasonable physician to order monitoring.

       140.    Early diagnosis of these diseases and cancers has significant value for members of

the Class because such diagnoses will help them monitor and minimize any resulting harm.

       141.    Monitoring procedures exist that make early detection of these diseases and cancers

possible and beneficial. These monitoring procedures are different than that normally

recommended in the absence of toxic exposures and are reasonably necessary due to Plaintiffs’

and Class Members’ exposures to the toxic substances, including vinyl chloride and its byproducts

like hydrochloric acid and phosgene, released by the derailment, fire, and explosion.

       142.    Due to Plaintiffs’ and the Class’s exposure to the toxic substances, toxic fumes and

carcinogens, surveillance in the form of periodic medical examinations is reasonable and

necessary, because such surveillance will provide early detection and diagnosis of the harmful and

debilitating injuries resulting from exposure to the toxic substances, toxic fumes and carcinogens

and, as a remedy for the conduct alleged.

       143.    As a result, Plaintiff and the Class should be awarded the quantifiable costs of such



                                                27
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 28 of 41. PageID #: 28




a monitoring regime.

       144.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                            COUNT V
                                     PRIVATE NUISANCE
                        (On Behalf of All Plaintiffs Against All Defendants)

       145.    Plaintiffs repeat, reallege, and incorporate by reference all allegations in the

preceding allegations of the Complaint as if fully set forth herein.

       146.    Defendants have contaminated Plaintiffs’ and Class Members’ properties.

       147.    Defendants knew or should have known that vinyl chloride, butyl acrylate, benzene

residue, other combustible liquids, phosgene, and hydrogen chloride were hazardous and harmful

to real property and human beings, and it was substantially certain that improper transportation

and handling of these materials would cause injury to Plaintiffs and their property.

       148.    Defendants, through the negligent, reckless and/or intentional acts and omissions

alleged herein, have contaminated real property located in the 30-mile radius surrounding the East

Palestine derailment site.

       149.    Defendants, through the negligent, reckless and/or intentional acts and omissions

alleged herein, have released vinyl chloride, butyl acrylate, benzene residue, other combustible

liquids, phosgene, and hydrogen chloride onto Plaintiffs’ land and have contaminated Plaintiffs’

real property, water and persons.

       150.    The Defendants’ contamination of Plaintiffs’ real and personal property with vinyl

chloride, butyl acrylate, benzene residue, and other toxic substances has unreasonably interfered

with the rights of Plaintiffs to use and enjoy their property, causing them to suffer injuries different



                                                  28
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 29 of 41. PageID #: 29




in kind and degree from others in surrounding areas. Indeed, this interference is substantial in

nature. It has caused and is causing Plaintiffs to, among other things, refrain from occupying or

using their real properties, using contaminated water to drink, cook, bathe, irrigate farmland and

gardens, eat from home gardens, or water pets and livestock. This has, in turn, caused significant

loss of income, out of pocket expenses, emotional distress and inconvenience.

        151.   Defendants’ conduct has also substantially interfered with Plaintiffs’ ability to

enjoy their property, to avail themselves of their property’s value as an asset and/or source of

collateral for financing, and to use their property in the manner that they so choose. It has also

reduced the value of their land.

        152.   Defendants’ negligent, reckless and/or intentional acts and omissions were

unreasonable and constitute invasion of the property rights of Plaintiffs.

        153.   Plaintiffs, unlike the public generally, have suffered specific injuries as a result of

Defendants’ tortious conduct, including the pollution of their land and water.

        154.   Defendants’ improper transportation and handling of vinyl chloride, butyl acrylate,

benzene residue, and other combustible liquids, and the contamination of Plaintiffs’ property

resulting therefrom, constitutes a private nuisance. This nuisance has directly and proximately

caused Plaintiffs to presently suffer, and continue suffering in the future, real property damage,

out of pocket expense, personal property damage, loss of use and enjoyment of property,

diminution in property value, loss of business income, loss of business goodwill, annoyance, upset,

aggravation, inconvenience and emotional distress, an increased risk of associated disease or

illness, and the present need for medical monitoring to ensure early detection of any such disease

or illness.

        155.   Defendants’ conduct as alleged herein shows that Defendants acted maliciously,



                                                 29
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 30 of 41. PageID #: 30




with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                          COUNT VI
                                     PUBLIC NUISANCE
                       (On Behalf of All Plaintiffs Against All Defendants)

       156.    Plaintiffs repeat, reallege, and incorporate by reference all allegations in the

preceding allegations of the Complaint as if fully set forth herein.

       157.    Defendants knew or should have known that vinyl chloride, butyl acrylate, benzene

residue, and other combustible liquids were hazardous and harmful to real property and human

beings, and it was substantially certain that improper transportation and handling of these materials

was hazardous and harmful to people living in nearby areas.

       158.    Plaintiffs and Class Members have a common right to enjoy their real property free

of dangerous contamination, to breathe clean air and have access to clean running water without

dangerous levels of toxic chemicals, and to live life without unreasonable exposure to toxic

chemicals.

       159.    Defendants’ improper transportation and handling of vinyl chloride, butyl acrylate,

benzene residue, and other combustible liquids substantially and unreasonably infringed upon and

transgressed these public rights.

       160.    As a proximate result of Defendants’ improper transportation and handling of vinyl

chloride, butyl acrylate, benzene residue, and other combustible liquids, Plaintiffs’ and the general

public’s common right to breathe clean air and have access to clean running water without

dangerous levels of toxic and harmful chemicals was severely diminished, if not eliminated.

       161.    As a proximate result of Defendants’ improper transportation and handling of vinyl

chloride, butyl acrylate, benzene residue, and other combustible liquids, Defendants invaded and



                                                 30
       Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 31 of 41. PageID #: 31




contaminated the areas surrounding Plaintiffs’ and Class Members’ residences, thereby exposing

them to toxic chemicals and carcinogens.

        162.   As a direct and proximate result of Defendants’ creation of a public nuisance and

the public’s exposure to toxic chemicals resulting therefrom, Plaintiff and Class Members

presently suffer, and will continue to suffer, real property damage, out of pocket expense, personal

property damage, loss of use and enjoyment of property, diminution in property value, the

necessity for annoyance, upset, aggravation and inconvenience, increased risk of associated

disease or illness, and the present need for medical monitoring to ensure early detection of any

such disease or illness.

        163.   Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                              COUNT VII
                                     STATUTORY NUISANCE
                           (On Behalf of All Plaintiffs Against All Defendants)

        164.   Plaintiffs repeat, reallege, and incorporate by reference all allegations in the

preceding allegations of the Complaint as if fully set forth herein.

        165.   Per Pennsylvania Air Pollution Control Act, 35 P.S. § 4006.6, it is impermissible

to emit air pollutants of hazardous materials in amounts greater than those sent by the Clean Air

Act.

        166.   Section 112 of the Clean Air Act included vinyl chloride in the list of hazardous air

pollutants and set a national emission standard. 41 Fed. Reg. 46560 (1976).

        167.   35 P.S. § 4013 declares any violation of the Air Pollution Control Act “shall

constitute a public nuisance,” and “[a]ny person who causes the public nuisance shall be liable for



                                                   31
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 32 of 41. PageID #: 32




the cost of abatement.”

       168.    Similarly, per Ohio R.C. § 3704.03, “no person shall cause, permit, or allow

emission of an air contaminant in violation of any rule adopted by the director of environmental

protection.”

       169.    As a result of the derailment and subsequent fire and toxic chemical burn,

Defendants emitted impermissible amounts of vinyl chloride.

       170.    As a result of Defendants’ improper transportation and handling of vinyl chloride,

butyl acrylate, benzene residue, and other combustible liquids, Plaintiff and Class Members have

been exposed to hazardous air pollutants in violation of Pennsylvania, Ohio, and federal law.

       171.    As a direct and proximate result of Defendants’ improper transportation and

handling of vinyl chloride, butyl acrylate, benzene residue, and other combustible liquids, these

toxins continuously invaded and contaminated the areas surrounding Plaintiffs, thereby exposing

their properties and body to unsafe levels of vinyl chloride, butyl acrylate, benzene residue, and

other combustible liquids.

       172.    As a direct and proximate result of Defendants’ improper transportation and

handling of vinyl chloride, butyl acrylate, benzene residue, and other combustible liquids, and the

exposure to these toxins resulting therefrom, Plaintiffs presently suffer, and will continue suffering

in the future, real property damage, out of pocket expense, personal property damage, loss of use

and enjoyment of property, diminution in property value, loss of business income, loss of business

goodwill, annoyance, upset, aggravation, inconvenience and emotional distress, an increased risk

of associated disease or illness, and the present need for medical monitoring to ensure early

detection of any such disease or illness.

       173.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,



                                                 32
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 33 of 41. PageID #: 33




with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                           COUNT VIII
                                           TRESPASS
                        (On Behalf of All Plaintiffs Against All Defendants)

       174.    Plaintiffs repeat, reallege, and incorporate by reference all allegations in the

preceding allegations of the Complaint as if fully set forth herein.

       175.    At all times relevant hereto, Defendants knew or should have known vinyl chloride,

butyl acetate, benzene residue, phosgene, and hydrogen chloride to be hazardous and harmful to

real property, animals, and human beings, and it was substantially certain that their use, emission,

discharge, disposal, distribution, spreading and/or release of these hazardous materials would

cause injury to Plaintiff and their property.

       176.    Defendants, through their activities alleged herein, allowed hazardous materials to

enter and contaminate Plaintiffs’ property. They intentionally, knowingly, and negligently used,

discharged, spread, deposited and/or released these hazardous materials knowing that those toxins

would contaminate the real property and drinking water of individuals like Plaintiffs.

       177.    Defendants, through their activities alleged herein, authorized, requested, or caused

others to dispose of waste in a manner which they knew was substantially likely to cause hazardous

materials, including vinyl chloride, butyl acetate, benzene residue, phosgene, hydrogen chloride

and/or other combustible liquids to enter and contaminate Plaintiffs’ properties. Through their

actions in intentionally causing others to spread their waste, they intentionally, knowingly, and

negligently caused hazardous materials to enter Plaintiffs’ land and water.

       178.    At all relevant times Defendants were aware that their conduct in disposing of vinyl

chloride, butyl acetate, benzene residue, phosgene, hydrogen chloride, and other combustible



                                                 33
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 34 of 41. PageID #: 34




liquids was contrary to Plaintiffs’ rights in their property.

        179.    At all times, Defendants’ conduct displayed indifference to and disregard for

Plaintiffs’ rights to their land.

        180.    Defendants, through their activities regarding hazardous materials alleged herein,

failed to act in the matter of an ordinary, careful person or business.

        181.    The Defendants’ intentional, knowing, and negligent contamination, and

continuing contamination, of Plaintiffs’ real and personal property with hazardous materials has

interfered with the rights of Plaintiffs to use and enjoy their property and constitutes trespass and

continuing trespass. Defendants’ trespass has substantially impaired Plaintiffs’ rights in the use

and enjoyment of their property as well as economic and property damages as alleged herein.

        182.    Defendants’ trespass has also interfered with and continues to interfere with

Plaintiffs’ ability to enjoy their property, to avail themselves of their property’s value as an asset

and/or source of collateral for financing, and to use their property in the manner that Plaintiffs so

choose.

        183.    Defendants’ trespass has proximately caused, and will continue to cause, Plaintiffs

real property damage, out of pocket expense, personal property damage, loss of use and enjoyment

of property, diminution in property value, loss of business income, loss of business goodwill,

annoyance, upset, aggravation, inconvenience and emotional distress.

        184.    Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                            COUNT IX
                            WILLFUL AND WANTON CONDUCT
                         (On Behalf of All Plaintiffs Against All Defendants)



                                                  34
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 35 of 41. PageID #: 35




       185.    Plaintiffs repeat, reallege, and incorporate by reference all allegations in the

preceding allegations of the Complaint as if fully set forth herein.

       186.    At all times relevant, Defendants owed a duty to refrain from willful, wanton,

reckless and outrageous conduct and/or conduct which exhibited an utter indifference and/or

conscious disregard to the health, safety, and well-being of Plaintiffs and the Class.

       187.    Upon information and belief, Defendants were, at all times relevant, aware that

vinyl chloride, butyl acetate, benzene residue, phosgene, and hydrogen chloride are highly

carcinogenic, mutagenic and/or otherwise harmful to humans.

       188.    Upon information and belief, Defendants were, at all times relevant, aware of the

considerable health risks associated with the release of vinyl chloride, butyl acetate, benzene

residue, phosgene, and hydrogen chloride into the air, water, and land, including the risk of causing

various diseases and cancers in the surrounding population.

       189.    Upon information and belief, Defendants were, at all times relevant, aware that

their transportation and release of vinyl chloride, butyl acetate, benzene residue, phosgene, and

hydrogen chloride could result in the unreasonably dangerous emission of hazardous materials into

the surrounding communities.

       190.    Upon information and belief, Defendants violated 49 CFR § 215.115(a) for at least

20 miles by allowing a defect wheel bearing to remain in service before the derailment occurred.

       191.    Notwithstanding this actual knowledge, and inconsistent with federal regulations

and industry practice and procedures, Defendants breached their duties by, among other things:

                a) Failing to operate, maintain, inspect and/or repair the railway and railcars in
                   such a way to ensure their safe and proper operation, particularly when
                   transporting hazardous materials such as vinyl chloride, butyl acetate,
                   benzene residue, and other combustible liquids;

                b) Failing to ensure proper procedures or systems for timely identifying any

                                                 35
Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 36 of 41. PageID #: 36




           malfunctions of the railway and railcars in order to prevent or mitigate
           derailments while transporting such hazardous materials;

        c) Failing to ensure proper safety procedures in the event of a mechanical
           malfunction of the railway or railcars while transporting such hazardous
           materials;

        d) Failing to ensure a proper mechanism for stopping or slowing malfunctioning
           railcars in a timely manner to avoid a derailment while transporting such
           hazardous materials;

        e) Failing to prevent over-loading the train with too many railcars or materials;

        f) Failing to load the railcars consistent with accepted practice;

        g) Failing to load the railcars in a proper way, avoiding placement of heavier
           cars in the rear, with particular consideration to whether the planned route is
           downhill;

        h) Failing to adequately staff positions that plan, prepare, coordinate, and
           oversee transportation of hazardous materials by railcar;

        i) Failing to adequately hire, train, manage, oversee, and supervise their agents,
           servants, employees, including but not limited to the train engineer and
           dispatcher concerning the operation of the train on February 3, 2023;

        j) Failing to adequately train their agents, servants, and employees, including
           but not limited to the train engineer, conductor and dispatcher, concerning the
           operation of the train and issues that arose on February 3, 2023;

        k) Failing to properly determine the adequacy and skill of their agents, servants,
           employees, including but not limited to, the train engineer, conductor and
           dispatcher, concerning the operation of the train on February 3, 2023;

        l) Failing to ensure that their agents, servants, employees, including but not
           limited to, the train engineer and dispatcher, were properly and adequately
           instructed and trained while transporting hazardous substances, including, but
           not limited to, vinyl chloride;

        m) Failing to properly instruct and adequately train their agents, servants,
           employees, including but not limited to the train engineer and dispatcher
           concerning safety and emergency procedures in the event of a possible
           derailment;

        n) Failing to route railcars carrying hazardous materials in such a way as to avoid
           populated areas in order to minimize the risk of accidental exposure;

                                        36
Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 37 of 41. PageID #: 37




        o) Failing to adequately warn those in danger of exposure to hazardous
           chemicals;

        p) Failing to institute proper procedures and training for response to the
           mechanical malfunction of a rail car;

        q) Failing to institute proper procedures and training for response to derailment
           of railcars containing hazardous materials;

        r) Failing to institute proper procedures to avoid exposing hazardous materials
           to the environment;

        s) Failing to have an emergency response plan to contain the spread of
           hazardous materials into the surrounding air, water, real property, and persons
           in the event of derailment;

        t) Failing to timely implement such an emergency response plan;

        u) Failing to transport and handle hazardous materials in a manner which would
           not cause Plaintiffs injury or harm, as Plaintiffs were foreseeable victims
           located within the scope of the risk created by Defendants’ conduct;

        v) Failing to properly dispose of or otherwise eliminate the hazardous materials
           from the derailment site, including the use of techniques that further exposed
           Plaintiff and surrounding areas to phosgene and hydrogen chloride during a
           “controlled release” of the hazardous materials;

        w) Failing to evacuate an appropriate geographical area to avoid exposing
           persons nearby to hazardous materials and causing injury;

        x) Failing to timely evacuate an appropriate geographical area to avoid exposing
           persons nearby to hazardous materials and causing injury;

        y) Accurately make known the risk of catastrophic injury and illness from
           exposure to hazardous materials, including vinyl chloride, butyl acetate,
           benzene residue, combustible liquids, phosgene, and hydrogen chloride, to
           persons at risk of exposure, including those outside the evacuation zone;

        z) Accurately make known the risk of exposure faced by those persons at risk
           of exposure, including those outside the evacuation zone;

        aa) Failing to contain the spread of hazardous materials and by-products,
            including vinyl chloride, butyl acetate, benzene residue, combustible liquids,
            phosgene, and hydrogen chloride, into the surrounding air, water, real
            property, and persons in order to avoid injury to;

                                        37
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 38 of 41. PageID #: 38




               bb) Failing to otherwise reasonably pack, transport, maintain, dispose of, or
                   otherwise handle hazardous materials, including vinyl chloride, butyl
                   acrylate, benzene residue, and other combustible liquids; and

               cc) Otherwise unreasonably causing injury to Plaintiff in ways further
                   investigation and discovery will reveal.


        192.   Defendants’ failures in these and other respects in the face of actual knowledge

regarding the risks of unreasonable hazardous material discharge constitute willful, wanton,

reckless and outrageous conduct, and demonstrates an utter indifference and/or conscious

disregard to the health, safety, and well-being of Plaintiffs and Class Members.

        193.   As a direct and proximate result of Defendants’ willful, wanton, reckless and

outrageous transportation, emission, discharge, and release of hazardous materials, including vinyl

chloride, butyl acetate, benzene residue, phosgene, and hydrogen chloride, throughout the Class

Zone, Plaintiffs presently suffer, and will continue suffering in the future, real property damage,

out of pocket expense, personal property damage, loss of use and enjoyment of property,

diminution in property value, loss of business income, loss of business goodwill, annoyance, upset,

aggravation, inconvenience and emotional distress, an increased risk of associated disease or

illness, and the present need for medical monitoring to ensure early detection of any such disease

or illness.

        194.   Defendants’ conduct as alleged herein shows that Defendants acted maliciously,

with aggravated or egregious fraud, and/or intentionally disregarded Plaintiffs’ rights so as to

warrant the imposition of punitive damages.

                                         COUNT X
                          ENVIRONMENTAL MONITORING
                   (On Behalf of All Plaintiffs and Against All Defendants)

        195.   Plaintiffs repeat, reallege, and incorporate by reference all allegations in the


                                                38
      Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 39 of 41. PageID #: 39




preceding allegations of the Complaint as if fully rewritten herein.

         196.   The properties owned by and/or at which Plaintiffs and Class Members reside

and/or operate its/their business or occupation have been significantly exposed to vinyl chloride

and other toxic substances at levels that are far higher than normal background levels. These toxic

substances, including vinyl chloride and its byproducts like hydrochloric acid and phosgene, are

dangerous toxins that has been proven to cause cancer and other diseases in humans.

         197.   The hazardous materials carried by the train, including vinyl chloride, are highly

toxic substances.

         198.   The chemicals dumped and released from the Train will not simply stay in one

location.   These chemicals will move through the air and water, including but not limited to

movement from any soil into which the chemicals were initially released after rains and by other

means.

         199.   Plaintiff and Class Members’ properties at which they own, reside and/or conduct

business were significantly exposed to these toxic substances, including vinyl chloride and its

byproducts like hydrochloric acid and phosgene, due to Defendants’ tortious actions, including

Defendant’s negligent, ultrahazardous, and willful and wanton conduct as alleged herein.

         200.   The presence of toxic chemicals on the properties increases the risk of cancer and

other serious illnesses to those persons living or working at the properties.

         201.   The presence of toxic chemicals on the properties further injure the owners of such

properties by decreasing the value of these properties.

         202.   Indeed, the mere risk of the presence of toxic chemicals on these properties from

this notorious and well-publicized release of toxic chemicals can reasonably be expected to

decrease the value of these properties.



                                                 39
     Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 40 of 41. PageID #: 40




       203.        Due to the economic, health, and other risks associated with the possibility of toxic

chemicals on or about the Properties, which exposure is expected to take place over the span of

time, necessitates monitoring for the presence of these toxic chemicals at the properties.

       204.        As a result, Plaintiff and the Class should be awarded the quantifiable costs of such

a monitoring regime to determine the presence of such toxic chemicals in the air, water or soil of

the properties so Defendants may remediate and remove all such toxic chemicals from the

properties so that the Defendants are fairly, justly and properly placed in the position they were

before the derailment.

                                       REQUEST FOR RELIEF

              WHEREFORE, Plaintiffs, individually and on behalf of all Class Members

    proposed in this Complaint, respectfully request that the Court enter judgment in their favor

    and against each Defendant as follows:

              a.       For an Order certifying the Class, as defined herein, and appointing Plaintiffs
                       and their Counsel to represent the Class;

              b.       For damages, including compensatory, punitive and exemplary damages, in an
                       amount determined just and reasonable;

            c.         For an award of attorneys’ fees, costs, and litigation expenses, as allowed by
                       law;

              d.       For prejudgment interest on all amounts awarded;

            e.         For injunctive and declaratory relief, as allowed by law; and

              f.       Such other and further relief as this Court may deem just and proper.

                                         JURY TRIAL DEMAND

              Plaintiffs demand a jury trial on all issues so triable.

Dated: February 24, 2023

                                                    40
Case: 4:23-cv-00380-BMB Doc #: 1 Filed: 02/24/23 41 of 41. PageID #: 41




                                WRIGHT & SCHULTE, LLC

                                /s/ Richard W. Schulte
                                Richard W. Schulte (0066031)
                                Roger Denton*
                                Stephen D. Behnke (0072805)
                                865 South Dixie Drive
                                Vandalia, Ohio 45377
                                (937) 435-7500
                                (937) 435-7511 (fax)
                                rschulte@yourlegalhelp.com
                                Attorney for Plaintiff

                                * Pro Hac Vice Forthcoming




                                  41
